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                                          April 24, 2018

Via Electronic Filing

Hon. David E. Peebles
U.S. Magistrate Judge
United States District Court Northern District of New York
Federal Building and U.S. Courthouse
100 South Clinton Street
P.O. Box 7345
Syracuse, NY 13261-7345


Re:    Gaminde v. Lang Pharma Nutrition, Inc., et al., 1:18-cv-00300-GLS-DEP

Dear Judge Peebles:

        I represent the plaintiff in the above-refenced action. On March 9, 2018, the Court set a
Rule 16 Conference for June 11, 2018 (Dkt. No. 4). However, due to a scheduling conflict,
Plaintiff’s counsel will be unable to attend that day. Plaintiff’s counsel suggests that the Rule 16
Conference currently set for June 11, 2018 be briefly continued to June 13, 2018. Counsel for
Defendants has consented to this request and has indicated that it is available on June 13, 2018.
There have been no previous requests to adjourn in this matter. Thank you for your
consideration to this matter.


                                                      Very truly yours,




                                                      Philip L. Fraietta



cc: All counsel of record via ECF
